             18-04097-KMS Dkt 15 Filed 11/01/18 Entered 11/01/18 16:01:41 Page 1 of 2



               Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
                           United States Bankruptcy Court Southern District of Mississippi

Information to identify the case:
Debtor 1              Hugh Ronnie Wallace                                                 Social Security number or ITIN          xxx−xx−0826
                      First Name   Middle Name   Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2              Nancy Katherine Wallace                                             Social Security number or ITIN          xxx−xx−2028
(Spouse, if filing)
                      First Name   Middle Name   Last Name                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court for the Southern District of Mississippi
Case number: 18−04097−KMS                                                                 Date case filed for chapter 7       10/23/18

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.
Cell Phones and other electronic devices are generally not allowed in the courthouses of this District. For more
information visit www.mssb.uscourts.gov.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                             About Debtor 1:                                          About Debtor 2:

1.     Debtor's full name                    Hugh Ronnie Wallace                                      Nancy Katherine Wallace

2.      All other names used in the
        last 8 years

3.     Address                               1969 Mill Creek Lane SW                                  1969 Mill Creek Lane SW
                                             Bogue Chitto, MS 39629                                   Bogue Chitto, MS 39629

4.     Debtor's attorney                     Francois David Choudoir                                  Contact phone 601−249−3386
                                             Smith & Choudoir Law, PLLC
       Name and address                      P O Box 2024
                                             McComb, MS 39649

5.     Bankruptcy trustee                    Derek A Henderson T1                                     Contact phone 601−948−3167
                                             1765−A Lelia Drive
       Name and address                      Suite 103
                                             Jackson, MS 39216

                                                                                                               For more information, see page 2 >

Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline (12/15)           page 1
             18-04097-KMS Dkt 15 Filed 11/01/18 Entered 11/01/18 16:01:41 Page 2 of 2


Debtor Hugh Ronnie Wallace and Nancy Katherine Wallace                                                              Case number 18−04097−KMS
6. Bankruptcy clerk's office                   501 East Court Street, Suite 2.300                             Office Hours:
                                               P.O. Box 2448                                                  Monday − Friday 8:00 AM − 5:00 PM
   Documents in this case may be filed at this Jackson, MS 39225−2448
    address. You may inspect all records filed                                                                Contact phone 601−608−4600
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 11/1/18


7. Meeting of creditors                           December 21, 2018 at 10:30 AM                               Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              William Colmer Federal Building,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            701 North Main Street, Room
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     125, Hattiesburg, MS 39401

    Debtors must provide original picture
    identification and proof of social security
    number to the trustee at the meeting.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 2/19/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
    Please do not file a proof of claim unless    proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    you receive a notice to do so.                will send you another notice telling you that you may file a proof of claim and stating the
                                                  deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline (12/15)                    page 2
